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                    IN THE UNITED STATES DISTRICT COURT
                    FOR THE MIDDLE DISTRICT OF ALABAMA
                             SOUTHERN DIVISION

UNITED STATES OF AMERICA                       )
                                               )
v.                                             )   CRIM. CASE NO. 1:19-cr-463-ECM
                                               )            (WO)
DERYKE MATTHEW PFEIFER                         )

                                        ORDER

       On July 9, 2021, the Eleventh Circuit Court of Appeals forwarded to this Court

multiple documents submitted pro se by the Defendant.           Because the Defendant is

represented by counsel and a guardian ad litem, on June 4, 2020, the Court entered an order

informing the Defendant that it does not accept pro se pleadings filed by a defendant

represented by counsel. The Court further ordered the Clerk of the Court to “[n]ot accept

for filing in this case any pro se pleadings or documents,” and ordered the Clerk to send

any documents to the Defendant’s counsel and to counsel appointed as Guardian ad litem.

(Doc. 39). Accordingly, in light of the Court’s prior order, it is

       ORDERED that the Clerk of the Court attach a copy of the pro se documents

received from the Eleventh Circuit Court of Appeals to this order and forward a copy of

the documents to the Defendant’s counsel and to counsel appointed as Guardian ad litem.

       Done this the 21st day of July, 2021.


                                      /s/Emily C. Marks
                                   EMILY C. MARKS
                                   CHIEF UNITED STATES DISTRICT JUDGE
